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   1                       UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
   2                            ALEXANDRIA DIVISION

   3   UNITED STATES OF AMERICA,            )   Case 1:18-cr-00457
                                            )
   4                       Plaintiff,       )
                                            )
   5            v.                          )   Alexandria, Virginia
                                            )   July 12, 2019
   6   BIJAN RAFIEKIAN,                     )   11:32 a.m.
                                            )
   7                       Defendant.       )
                                            )   Pages 1 - 34
   8

   9     TRANSCRIPT OF NON-PARTY MATTHEW M. NOLAN, ESQUIRE'S

  10             EMERGENCY MOTION TO QUASH TRIAL SUBPOENA

  11                      AND OTHER MISCELLANEOUS MATTERS

  12              BEFORE THE HONORABLE ANTHONY J. TRENGA

  13                  UNITED STATES DISTRICT COURT JUDGE

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  25       COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES


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  20   THE DEFENDANT, BIJAN RAFIEKIAN, IN PERSON

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   1                THE CLERK:       Criminal Case 1:18-cr-457, United

   2   States v. Bijan Rafiekian.

   3                Counsel, will you please note your

   4   appearances for the record.

   5                MR. GILLIS:       Good morning, Your Honor.          Jim

   6   Gillis, Evan Turgeon, and Katie Sweeten for the United

   7   States.

   8                THE COURT:       Good morning.

   9                MR. MACDOUGALL:       Good morning, Your Honor.

  10   The defendant, Mr. Rafiekian, is present in court

  11   today.     For Mr. Rafiekian, Mark MacDougall, Robert

  12   Trout, Stacey Mitchell, and our colleague, Samantha

  13   Block, will be arguing as well today.

  14                THE COURT:       All right.     Very good.

  15                MR. BRATER:       Good morning, Your Honor.          Randy

  16   Brater and Barbara Wahl on behalf of Matt Nolan.

  17                THE COURT:       All right.     We're here for a

  18   number of miscellaneous matters.             First, I want to take

  19   up the motion to quash the subpoena on behalf of

  20   Mr. Nolan.       I'll hear from counsel.

  21                MR. BRATER:       Thank you, Your Honor.         We're

  22   here to ensure that the attorney-client privilege that

  23   belongs to Mr. Nolan's former client, Mr. Alptekin, is

  24   properly preserved.        The privilege belongs to

  25   Mr. Alptekin, and as far as we know, it has not been


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   1   waived.     Therefore, Mr. Nolan has an ethical obligation

   2   under Rule 1.6 of both the D.C. Bar and the Maryland

   3   Bar where he's admitted to protect the confidences of

   4   his former client.

   5                So unless Mr. Alptekin waives the privilege

   6   or this Court orders that Mr. Nolan must testify

   7   because the privilege has been waived, Mr. Nolan must

   8   maintain the privilege of his communications with his

   9   prior client.

  10                Now, as the Court knows, Mr. Nolan received a

  11   subpoena to testify from counsel for Mr. Rafiekian that

  12   was without limitation.          As well, the government has

  13   filed a motion to establish the crime-fraud exception

  14   with respect to all of the communications between

  15   Mr. Nolan and Mr. Alptekin, which the Court, we

  16   understand, has deferred ruling on.

  17                At this point, Mr. Nolan does not know

  18   whether, A, if he would be called to testify or, if he

  19   is, what potential topics might be covered in that

  20   testimony.       Now, we have had conversations with

  21   Mr. Trout, counsel for Mr. Rafiekian, about whether

  22   they plan to call Mr. Nolan or not and what might be

  23   asked.     Understandably, Mr. Trout explained, consistent

  24   with the paper that they filed last night, they do not

  25   know whether Mr. Nolan would need to be called and on


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   1   what topics.

   2                Now, we appreciate that position because

   3   Mr. Rafiekian does not know what evidence the

   4   government might present in this case and whether or

   5   not they may feel they need Mr. Nolan's testimony or

   6   not, but that puts Mr. Nolan in a tenuous position.

   7                There are a number of topics that he could be

   8   asked about, many of which would be subject to

   9   privilege or work product, and there may also be

  10   potential hearsay objections.            That is further

  11   complicated by the fact that the privilege belongs to

  12   Mr. Nolan's former client, Mr. Alptekin.

  13                So to the extent that the Court terms that

  14   there may be topics that are not privileged, not work

  15   product, and not hearsay that could be covered in

  16   Mr. Nolan's testimony, what we're seeking here is some

  17   guidelines and ground rules for what would be the scope

  18   of Mr. Nolan's testimony.

  19                And in the paper that was filed last night,

  20   counsel for Mr. Rafiekian proposed that the Court rule

  21   on such objections on a case-by-case basis while

  22   Mr. Nolan is on the stand.           That would be very

  23   difficult for Mr. Nolan because his former client

  24   likely won't be present in the courtroom to assert the

  25   privilege, and Mr. Nolan may be put in the position to


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   1   both act as a witness and as his own lawyer while he's

   2   testifying.

   3                And plus -- and I'm sure we can work

   4   something out with this -- if Mr. Nolan is going to be

   5   called to testify, we would like some reasonable amount

   6   of advance notice so that he can work within his

   7   schedule to get here.

   8                Now, the bottom line is Mr. Nolan is willing

   9   to be cooperative here and testify if that is something

  10   that Mr. Rafiekian's counsel believes is necessary and

  11   that there is a clearly defined scope of what he might

  12   have to testify about that's not privileged, not work

  13   product.     But if he is, again, what we're seeking are

  14   some clear guidelines about what might be asked and the

  15   scope of the privilege that may be waived so that he

  16   could be better prepared to handle the testimony.

  17                THE COURT:       All right.     Thank you.

  18                Yes.

  19                MS. BLOCK:       Good afternoon, Your Honor.

  20                THE COURT:       Yes.

  21                MS. BLOCK:       We understand and are respectful

  22   of Mr. Nolan's time, but we believe at this time it's

  23   premature to quash the subpoena as we don't know what

  24   evidence is going to be put on at trial.               We can't

  25   predict how we are going to need to use that evidence


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   1   and whether or not we're going to need Mr. Nolan's

   2   time.    But at the time that we realize we will need

   3   him, we will give him advance notice so that he can be

   4   present and be able to plan accordingly.

   5                We do not take a position on the privilege.

   6   We don't know what the extent of their relationship

   7   was, but this is not the time to assert any privilege

   8   arguments.       It's at trial when there's proper context

   9   to understand the evidence.

  10                As this Court mentioned in its order earlier

  11   this week, it's deferring any rulings on the

  12   crime-fraud until trial.          So at that time, Mr. Nolan or

  13   his attorney may assert the attorney-client privilege.

  14   But merely being an attorney is not a reason not to be

  15   present in the courtroom.          As they just mentioned, they

  16   are willing to be present.

  17                We do have some nonprivilege questions that

  18   we would like to ask Mr. Nolan should certain evidence

  19   come in, but we, again, cannot predict and speculate

  20   about what will be admitted at trial.              We would like

  21   this Court to wait until trial to make any decisions

  22   about the privilege when Mr. Nolan can assert it.

  23                THE COURT:       Well, based on what the Court has

  24   been told already, as I understand it, the connection

  25   between Mr. Nolan and Arent Fox and the relevant issue


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   1   in this case is that there was a memo, an opinion

   2   letter -- which I don't believe the Court has seen --

   3   that was prepared by Mr. Nolan and submitted either

   4   directly or through Mr. Rafiekian to Covington and that

   5   Covington had that available to it when it composed and

   6   filed the FARA statement that is the basis for the

   7   claim here that Mr. Rafiekian caused the filing of a

   8   false FARA statement.

   9                Other than the fact that Mr. Nolan prepared a

  10   memo that was delivered to Covington, what possible

  11   relevance would anything that transpired between

  12   Mr. Nolan and Arent Fox and Mr. Alptekin have to this

  13   case?

  14                MS. BLOCK:       Well, should the memorandum be

  15   admitted, the underlying facts that -- and

  16   conversations that Mr. Nolan had with Mr. Alptekin then

  17   would no longer be privileged as well that pertain to

  18   the subject matter of the letter.             So there may be some

  19   relevant questions there that we would like to question

  20   Mr. Nolan about.

  21                THE COURT:       But if that information was not

  22   conveyed to Covington -- as I understand it, the only

  23   thing that was conveyed to Covington was what was in

  24   the memo unless there's some evidence that there were

  25   separate conversations between Covington and either


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   1   Mr. Alptekin or Mr. Nolan.           How would anything beyond

   2   the actual memo itself bear on anything that's going to

   3   be tried in this case?

   4                MS. BLOCK:       Well, Your Honor, the

   5   conversations, though, that Mr. Nolan had with

   6   Mr. Alptekin when making that memorandum may relate to

   7   the FARA filing and some of the issues in this case.

   8                THE COURT:       How would it if the only thing

   9   that was conveyed to Covington is the memo?

  10                MS. BLOCK:       Because should the memo come in,

  11   then I'm under the impression that the Fourth Circuit

  12   would say that the underlying conversations that relate

  13   to that subject matter would also no longer be

  14   privileged.

  15                THE COURT:       How is that relevant?        How would

  16   that be relevant to the claims in this case?

  17                MS. BLOCK:       Sorry, Your Honor.

  18                THE COURT:       Go ahead.

  19                MS. BLOCK:       It may relate to the FARA filing.

  20   It may relate -- we're not clear whether or not he

  21   spoke with Mr. Rafiekian when making the memorandum.

  22   So there potentially could be conversations there.

  23   Again, we were not part of that transaction.                When he

  24   was representing Mr. Alptekin, we were not.                So we

  25   can't speculate.


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    1                THE COURT:       Well, conversations between

    2   Mr. Nolan and Mr. Rafiekian wouldn't, at least on their

    3   face, appear to be privileged, correct?

    4                MS. BLOCK:       Sorry, Your Honor?       Would they be

    5   privileged?

    6                THE COURT:       Would not appear to be

    7   privileged.

    8                MS. BLOCK:       Again, we were not part of the

    9   transaction.       So we don't know if there was a common

   10   interest or --

   11                THE COURT:       All right.

   12                MS. BLOCK:       Thank you, Your Honor.

   13                THE COURT:       Mr. Gillis, do you want to say

   14   something about this?

   15                MR. GILLIS:       Yes, please, Your Honor.         As the

   16   Court knows, we do have a pending motion to establish

   17   the crime-fraud exception with respect to Alptekin's

   18   attorney-client privileges.          We are mindful of the

   19   Court's opinion which we received recently.                And also,

   20   in light of recent developments, we are trying to

   21   reassess, in some part, how we are planning to present

   22   the case.

   23                We do know that there were statements from

   24   Mr. Nolan to the Covington lawyers about what Alptekin

   25   had said to Nolan.        So those were communicated in


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    1   addition to just this opinion letter.              So the

    2   government may want to speak with Mr. Nolan directly,

    3   and depending upon what transpires at trial, we may

    4   decide ourselves to call Mr. Nolan, especially in light

    5   of the Court's ruling that what was said to him in

    6   connection with the FARA filing would not be

    7   privileged.

    8               THE COURT:       But there still has to be a

    9   relevance issue.

   10               MR. GILLIS:       Of course, Your Honor.          We would

   11   have to establish that as well.            But in terms of

   12   whether we could speak with him or whether he could

   13   testify at trial, there would certainly have to be

   14   relevance to that.

   15               But in light of the Court's rulings, we are

   16   attempting to figure out where that may place him.                    I'm

   17   not saying at this point that we would call him.                 It's

   18   possible that we might call him in rebuttal depending

   19   upon what's in the defendant's case.             Certainly, if the

   20   defense calls him, we'd want to cross-examine him with

   21   some of those statements.

   22               THE COURT:       Right.

   23               MR. GILLIS:       So for those reasons

   24   independently, I just wanted to advise the Court of our

   25   position on that.


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    1                THE COURT:       All right.     Counsel.

    2                MR. BRATER:       Briefly, Your Honor.         We agree

    3   that there's a question of relevance here.                 Of course,

    4   we're not familiar with all the facts that the parties

    5   are dealing with in this case.             But to the extent that

    6   the only thing at issue here is the letter or memo that

    7   we understand both parties have and there's a

    8   question -- it sounds to me like no one is really sure

    9   if there's anything beyond that that might be relevant.

   10                We would ask the Court to quash the

   11   testimony.       We, of course, would be willing to accept

   12   service of a subpoena if the parties decide they do

   13   need Mr. Nolan's testimony, and we can work with them

   14   independently in order to determine an appropriate time

   15   for him to be available to testify.

   16                THE COURT:       All right.     Anything further on

   17   this?

   18                MR. GILLIS:       May I have one moment, Your

   19   Honor?

   20                THE COURT:       Yes.

   21           (Counsel confer.)

   22                MR. GILLIS:       Your Honor, I'm informed that we

   23   know that there was information conveyed by Nolan

   24   concerning what Alptekin had said to Covington.                 Up

   25   until this point, we have not been able to explore that


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    1   pending the outcome of the Court's memorandum which

    2   came out recently.

    3                THE COURT:      Right.

    4                MR. GILLIS:      So we would like to be able to

    5   explore that more not only with the Covington lawyers

    6   but also perhaps with Nolan himself.             So those are the

    7   government's interests.

    8                THE COURT:      All right.

    9                MR. GILLIS:      So we really don't know what

   10   might be relevant there, but we've been precluded so

   11   far, at least until very recently, from talking with

   12   the Covington lawyers about that.

   13                THE COURT:      All right.     Obviously, the Court

   14   can't make any final decisions until it actually hears

   15   the evidence and what's being proposed.              But at least,

   16   as the Court understands the case, what seems to the

   17   Court to be the case is that what would be relevant is

   18   what was conveyed to Covington either by way of the

   19   memo or in direct conversations.

   20                A substantial issue for the Court is, even

   21   under those circumstances, if there were conversations

   22   between the Arent Fox lawyers and Mr. Nolan and

   23   Covington, whether it would be relevant what

   24   Mr. Alptekin said if that wasn't, in fact, conveyed to

   25   Covington.


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    1                So at this point, I'm not going to quash the

    2   subpoena in its entirety.           Mr. Nolan will still be

    3   subject to subpoena to testify.            I'm going to quash for

    4   production, at least at this point, any documents that

    5   Arent Fox or Mr. Nolan may have with respect to his

    6   conversations with Mr. Alptekin subject, of course, to

    7   the Court reviewing that once it hears some actual

    8   evidence about what may have transpired between Arent

    9   Fox and Mr. Nolan and Covington that may place him --

   10   not only relevance, but make discoverable any

   11   conversations that would otherwise be privileged or as

   12   between Arent Fox and Mr. Alptekin.

   13                All right.

   14                MR. GILLIS:      May I ask one further question,

   15   Your Honor?

   16                THE COURT:      Yes.

   17                MR. GILLIS:      As I said, we do have a pending

   18   motion with respect to the crime-fraud exception and

   19   the work product issue.         We believe the Court could be

   20   in a position to rule with respect to Alptekin's

   21   privilege in the same way that the Court handled the

   22   Covington and Verderame issues.            So we would ask that

   23   the Court issue an order similar to the order that the

   24   Court has issued already with respect to Covington and

   25   Verderame.


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    1                THE COURT:      Again, Mr. Gillis, I'm having

    2   difficulty with how anything Alptekin said to -- he's

    3   not being tried.       Mr. Rafiekian is the only defendant

    4   at this point being tried.            I'm having difficulty

    5   understanding how what Mr. Alptekin said to Mr. Nolan

    6   or any other lawyer is relevant unless that was passed

    7   on to Covington for its use in determining what to file

    8   under the FARA statement.

    9                MR. GILLIS:      Well, Your Honor, to the extent

   10   it was passed on by Nolan to Covington, that would be

   11   hearsay.     So we'd like to hear from Nolan directly

   12   about what his client said to Nolan that caused him to

   13   pass that information to --

   14                THE COURT:      Again, I'm not going to make any

   15   rulings, but I don't understand why that has any

   16   relevance.      The only issue is what information

   17   Covington had and relied on and used that affected the

   18   filing because the whole case here is that the false

   19   filing is attributed to Mr. Rafiekian.

   20                MR. GILLIS:      Well, Your Honor, I understand

   21   the Court's ruling with respect to the preponderance of

   22   the evidence standard --

   23                THE COURT:      Right.

   24                MR. GILLIS:      -- and coconspirators.         However,

   25   without knowing what Alptekin said to him, I submit


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    1   that it's reasonable to assume that there would be

    2   statements made there that could be in furtherance of

    3   the conspiracy, especially with respect to the

    4   conspiracy to commit to make false statements.                 There

    5   also may be evidence that Alptekin revealed to Nolan

    6   concerning what the defendant said to Alptekin that was

    7   passed on to Nolan.

    8                THE COURT:      All right.

    9                MR. GILLIS:      So for those reasons, we --

   10                THE COURT:      All right.

   11                MR. GILLIS:      Yes, Your Honor.       Thank you.

   12                THE COURT:      All right.     I'm not going to rule

   13   beyond what I have at this point.

   14                MR. GILLIS:      Thank you, Your Honor.

   15                THE COURT:      All right.     The next is

   16   miscellaneous issue is pertaining to the notice of

   17   correction and the effect of the decision not to call

   18   Mr. Flynn.

   19                Mr. Trout.

   20                MR. TROUT:      Thank you, Your Honor.

   21                Your Honor, we think this case was broken the

   22   moment that the government had Mr. Flynn sign the

   23   statement of offense that they created for his guilty

   24   plea in December 2017.         We think it's become more of a

   25   mess ever since with manipulations undertaken to


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    1   shoehorn innocent facts into a narrative of guilt.

    2                We think we've described this case as a case

    3   where the government is making it up as it goes along.

    4   It's as apt a description as there is to describe where

    5   we are now where the government has relabeled or seeks

    6   to relabel Mr. Flynn as a coconspirator after as

    7   recently as June 13 declaring unequivocally to this

    8   Court that he was not a coconspirator.              They label it a

    9   correction of the record.          It's not a correction of the

   10   record.    It's just a change of mind.

   11                No facts exist or have been proffered to say,

   12   We have discovered something that Mr. Flynn did during

   13   the time of the conspiracy that we didn't know about

   14   before that causes us to change our view of him and to

   15   conclude that he actually was a coconspirator even when

   16   we previously thought he was not.

   17                There is nothing that has changed.              The only

   18   thing that has changed is that the government has

   19   concluded that he is not credible about matters

   20   relating to this case.         So rather than having him

   21   testify and be subject to cross-examination, they want

   22   him to be a declarant where he cannot be cross-examined

   23   even though he is not credible on matters relating to

   24   this case.

   25                Your Honor, we think it's wrong.              It,


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    1   obviously, is not in keeping with the Court's order

    2   that we be given advance notice of coconspirator

    3   hearsay so that we can prepare for it.              We have spent a

    4   lot of time preparing for him as a witness.                We have

    5   spent no time preparing for him as a hearsay declarant.

    6               So, Your Honor, we respectfully submit that

    7   the Court should exclude all of Mr. Flynn's hearsay,

    8   whether it's the single document that they attach to

    9   their response or any hearsay coming from any witness

   10   whatsoever.

   11               Thank you.

   12               THE COURT:       Well, as I understand it, another

   13   aspect of your motion was to dismiss the indictment

   14   itself.

   15               MR. TROUT:       Well, it was, Your Honor.

   16   Ms. Mitchell was actually going to address the issue of

   17   the grand jury.

   18               THE COURT:       All right.

   19               MR. TROUT:       We're trying to divide it up so

   20   that we're not all --

   21               THE COURT:       All right.     Why don't we hear

   22   from Ms. Mitchell, and then I'll let the government

   23   respond to both issues.

   24               MS. MITCHELL:         Good morning, Your Honor --

   25   oh, good afternoon.        No.     It's good morning still.


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    1               THE COURT:       It's still morning.

    2               MS. MITCHELL:       You are correct, Your Honor.

    3   We also believe that the government should produce the

    4   grand jury testimony of Mr. Flynn and allow both the

    5   defense and the Court to determine whether or not the

    6   indictment was procured upon an irregularity that

    7   operated to Mr. Kian's prejudice.

    8               Your Honor is well aware of the standard.                   A

    9   prejudice can exist where either an irregularity

   10   substantially influences the decision to indict or

   11   there is grave doubt that the decision to indict was

   12   free from substantial influence of regularities.

   13               The government points to the presumption of

   14   regularity before the grand jury.            That's a fundamental

   15   principle with which we don't quibble, Your Honor.                    But

   16   as with any presumption, it's rebuttable, and I think

   17   we've more than reached a tipping point, Your Honor.

   18               In its response, the government actually

   19   demurrers on the question of whether Mr. Flynn

   20   testified before the grand jury or that his testimony

   21   was used in the context of the superseding indictment.

   22   That's to be contrasted, Your Honor, with the e-mail

   23   from them four days earlier in which they note,

   24   according to Flynn's counsel, his testimony would

   25   remain consistent with the facts of his plea colloquy,


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    1   his statement of offense, and his testimony before the

    2   grand jury.

    3               We do not necessarily agree with that

    4   characterization.       They implicitly adopt that Mr. Flynn

    5   has testified.

    6               As the defense has pointed out on numerous

    7   occasions, Your Honor, there is little room for doubt

    8   that the prosecution has proceeded only because

    9   Mr. Flynn, as part of his plea agreement, was willing

   10   to sign a statement of offense that essentially threw

   11   in an unrelated recitation of facts related to this

   12   matter.    Mr. Flynn undoubtedly subsequently testified

   13   in what can only be presumed to be a somewhat starring

   14   role before the grand jury consistent with what the

   15   government's theory of the case was, Your Honor.                 Now

   16   they say they don't believe, based on the statements of

   17   his attorney, that he would testify consistently.

   18               In further support of their motion, Your

   19   Honor, the government suggests that there are volumes

   20   of evidence that the government has produced to the

   21   defense.    It's a characterization with which we

   22   strenuously disagree and, actually, which has been

   23   called into question by this Court.             They've produced

   24   volumes of material, very little of which supports the

   25   government theory in this case.


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    1                Your Honor, we believe at this point the

    2   presumption of regularity has been fairly called into

    3   question.        We've hit the tipping point.        And at

    4   minimum, a reasonable first step is to allow the

    5   defense, the Court to review the testimony of Mr. Flynn

    6   and depending on that, Your Honor, quite likely dismiss

    7   this indictment.

    8                THE COURT:        All right.    Mr. Gillis.

    9                MR. GILLIS:        Your Honor, first, I have to

   10   address something that my colleagues have said both in

   11   writing and now in front of this Court, that in some

   12   way the government concocted a statement of facts and

   13   insisted upon Flynn filing something that was concocted

   14   by the government.        I find that offensive.           It is

   15   certainly untrue, and it's unwarranted.              I'll leave

   16   that there.

   17                As the Court is aware, we've submitted

   18   volumes of evidence to support the charges in the

   19   indictment.        The presumption of regularity certainly

   20   obtains in this case with respect to whether or not

   21   Mr. Flynn testified before the grand jury.                 We didn't

   22   implicitly adopt or deny anything.             Rule 6(e) prevents

   23   us from doing that, Your Honor.             However, we simply

   24   relayed to them factual -- as we were obliged to do, we

   25   simply relayed to them factually what had been


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    1   conferred to us by Flynn's attorneys.

    2                So there is no grounds for looking behind the

    3   indictment, certainly no grounds for providing the

    4   transcripts to the defense.          There's no indication from

    5   the defense, nor any other suggestion of irregularity

    6   with respect to the superseding indictment.

    7                For those reasons, Your Honor, we submit the

    8   defense should not have access to those transcripts,

    9   nor should the Court consider dismissal of the

   10   indictment.

   11                With respect to the question of Flynn being

   12   considered a coconspirator, Your Honor, at the time

   13   that the Court asked me the question is the government

   14   alleging that Mr. Flynn was part of this conspiracy, I

   15   responded we are not, Your Honor.            At the time, whether

   16   Mr. Flynn was or was not a coconspirator was really not

   17   of terrific concern to us since we expected that he

   18   would be a witness at the time and that there would be

   19   no hearsay offered through him, which I believe in

   20   context is how the Court's question came up.                Although,

   21   at the present time, I don't have the entire transcript

   22   before me.      But in any case, there is no prejudice to

   23   the defense from our -- if it's late, our late

   24   indication that Mr. Flynn is going to be regarded as a

   25   coconspirator.


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    1                There are two operate questions, Your Honor,

    2   whether the government believed that there was

    3   sufficient evidence to charge Mr. Flynn as a

    4   coconspirator in an indictment or other charging

    5   document.        That's standard within the government's

    6   manual, the justice manual:          Do we have a reasonable

    7   good faith basis to believe that we can prove the case

    8   beyond a reasonable doubt?          That was not a decision

    9   that was made by EDVA, Your Honor.             That was a

   10   decision, presumably, that was made by the special

   11   counsel's office.        We received the case in the state in

   12   which it was, which was after Mr. Flynn had pled

   13   guilty.

   14                Now, as I said, we expected him to be a

   15   witness at trial.        Therefore, we did not expect to have

   16   to enter into evidence any hearsay statements.                 Once we

   17   made the decision that we would not be calling

   18   Mr. Flynn, one document became relevant, one document

   19   that the defense has had since the very beginning of

   20   this case.        It's Exhibit 40 which is attached to our

   21   motion.

   22                They certainly were aware that we would be

   23   introducing that document for reasons not the least of

   24   which would be the effect on the hearer.               But as the

   25   Court has already acknowledged, that is a legitimate


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    1   ground for admitting documents of this kind in this

    2   case.

    3               That we would argue an additional ground that

    4   he is a coconspirator in the case for purposes of

    5   introducing that particular document, particularly for

    6   the truth of it, the substantive value rather than the

    7   effect on the hearer.         We would want to introduce it

    8   for that purpose.       To do so, we need to establish by a

    9   preponderance of the evidence that Mr. Flynn was a part

   10   of this conspiracy.

   11               So there are really two different concerns,

   12   Your Honor.      It was not a concern at the time that we

   13   represented to the Court that we did not regard him as

   14   a coconspirator.       We were not actually alleging at the

   15   time that he was a part of that conspiracy.                It was

   16   unnecessary for us to do so.           But as to whether we can

   17   establish by a preponderance of the evidence for the

   18   evidentiary purpose of introducing that document, which

   19   they've had for months, is no prejudice that should

   20   justify preventing us from offering it in that manner.

   21               Your Honor, to remind the Court, yes, we did

   22   have an obligation to identify the coconspirators

   23   through whom we expected to introduce hearsay

   24   statements under the coconspirator exception.                We did

   25   not identify Flynn for the same reason that I've


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    1   articulated.      However, the Court did not require us to

    2   identify the statements that would be put in through

    3   those coconspirator declarants.            So there, again, is no

    4   real prejudice to them discovering now that we plan to

    5   introduce Government's Exhibit 40 on that additional

    6   grounds.

    7                Also, Your Honor, we were not obliged to

    8   provide them with a witness list until yesterday or the

    9   day before.      So they were not entitled to know whether

   10   we were going to be calling Mr. Flynn or not.                They

   11   operated on a presumption that we were.              Frankly, so

   12   did we.    But circumstances have changed.             They are not

   13   prejudiced by being told in advance that we will not be

   14   calling Flynn.      It gives them more time to, as they

   15   said, devote to other things apart from calling

   16   Mr. Flynn.

   17                So for those reasons, Your Honor, we request

   18   that that part of the motion be denied.

   19                THE COURT:      All right.     Mr. Trout.

   20                MR. TROUT:      Yes.   If I could be heard just

   21   briefly, Your Honor.         To be clear, of course they can

   22   call who they want to.         That's not our complaint.            Our

   23   complaint is relabeling this individual as a

   24   coconspirator when they were unmistakable in telling

   25   the Court last month that he was not a coconspirator.


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    1   I don't believe that it is appropriate for the Court --

    2   excuse me -- for the government to simply on the theory

    3   that we can make up who the coconspirators are as we

    4   think about it or we can declare them to be

    5   coconspirators or not as a matter of whim.                 That's just

    6   not appropriate.

    7                When the Court asked the government was he a

    8   coconspirator and they said no, I believe that they

    9   were obliged to base that on the evidence that they had

   10   based on the two years that they've been working on

   11   this case and the Court was entitled to accept that as

   12   fact from the government.

   13                Now they want to change their mind, not

   14   because of anything that they've since discovered about

   15   what happened during the course of the conspiracy.

   16                Your Honor, I do want to make one other

   17   point.     The Flynn statement of offense is

   18   unquestionably not accurate.           It was prepared by the

   19   government.       They had the FARA forms to be able to

   20   state it accurately.          Moreover, it clearly does not

   21   include material information that was included in the

   22   FARA form.       So in a case that is built on false

   23   representations and material omissions, I think the

   24   Court can appreciate why we regard that to be ironic at

   25   the very least.


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    1               So we would probably not be quite so critical

    2   of the government for this inaccuracy and its failure

    3   to include material information if the government had

    4   not been so harshly judgmental and accusatory in a

    5   criminal case about the language that Covington &

    6   Burling chose to put in this FARA form.              So we think

    7   that our criticism of the government on that is

    8   absolutely valid and appropriate.

    9               THE COURT:       All right.

   10               MR. TROUT:       Thank you.

   11               THE COURT:       Ms. Mitchell.

   12               MS. MITCHELL:       Nothing further, Your Honor.

   13               THE COURT:       All right.     With respect to the

   14   defense's motion to dismiss the indictment, I don't

   15   think that the decision by the government not to call

   16   Mr. Flynn or to recharacterize his role in the

   17   conspiracy in and of itself is sufficient to dismiss

   18   the indictment.

   19               Mr. Flynn has not disavowed what is in the

   20   statement of facts.        He has, through his lawyers,

   21   indicated that there is context that needs to be

   22   considered with what he said.           But in any event, I

   23   don't think at this point there's been sufficient

   24   evidence that would rebut the presumption of regularity

   25   before the grand jury.


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    1               With respect to Mr. Flynn's statement coming

    2   in as a coconspirator statement, there's a couple of

    3   issues that are distinct.          The first is whether the

    4   government is either estopped or, by way of a judicial

    5   admission, prevented from changing its position that

    6   Mr. Flynn went from not being a part of the conspiracy

    7   to a part of the conspiracy for the purposes of

    8   admitting his otherwise hearsay statement pursuant to

    9   Rule 801(d)(2)(E).

   10               The other issue is irrespective of whether

   11   the government is estopped, whether there has been a

   12   sufficient showing that would allow that hearsay

   13   statement to come in under 801(d)(2)(E).

   14               The Court has already ruled that the

   15   government, at least up until this point, has not

   16   presented sufficient information through Rule 104 to

   17   establish that Mr. Rafiekian was participating in the

   18   alleged conspiracies and, therefore, has not made the

   19   foundational showing for the admission of any hearsay

   20   statements under Rule 801(d)(2)(E).             Until there's some

   21   additional evidence presented, presumably at trial,

   22   that lack of showing would extend to any hearsay

   23   statement by Mr. Flynn irrespective of whether or not

   24   the Court would allow him to be considered a

   25   coconspirator.


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    1                So at this point, I don't know that the Court

    2   needs to rule any further.          If and when the government

    3   presents sufficient evidence to make its foundational

    4   showing, the Court can consider whether the government

    5   is estopped either by way of a judicial admission or

    6   inconsistent positions from offering that statement.                    I

    7   think that resolves it at least at this point.

    8                All right.       Anything further that we haven't

    9   dealt with?

   10                MR. GILLIS:       Not from the government, Your

   11   Honor.

   12                THE COURT:       All right.

   13                Yes, Mr. MacDougall.

   14                MR. MACDOUGALL:       Your Honor, there is one

   15   matter that the Court is aware of.             Before we choose a

   16   jury on Monday, this is the last time we'll be before

   17   the Court.       So we would like to take this opportunity

   18   to bring it up and put it on the record and make an

   19   objection and ask for some relief.             The Court is aware

   20   of this matter.

   21                We were just before this hearing handed a

   22   statement by Mr. Turgeon by the government.                It's one

   23   sentence.        If I may read it for purposes of the record:

   24   The United States government is in possession of

   25   multiple independent pieces of information relating to


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    1   the Turkish government's efforts to influence United

    2   States policy on Turkey and Fethullah Gulen, including

    3   information relating to communications, interactions,

    4   and a relationship between Ekim Alptekin and Michael

    5   Flynn and Ekim Alptekin's engagement of Michael Flynn

    6   because of Michael Flynn's relationship with an ongoing

    7   presidential campaign without any reference to the

    8   defendant or FIG.

    9               Now, Your Honor, as I parse that sentence, it

   10   says that the government has evidence that there was a

   11   separate relationship between Mr. Flynn and

   12   Mr. Alptekin acting on behalf of Turkey because of

   13   Flynn's relationship with a presidential campaign and

   14   without reference to, which I read to be without the

   15   knowledge of Mr. Rafiekian or the involvement of FIG.

   16               Your Honor, it's hard to come up with a

   17   rationale that that kind of evidence would not be

   18   exculpatory with respect to the guilt or innocence of

   19   Mr. Rafiekian.      It goes right to the question of what

   20   happened and what he knew and what statements were made

   21   and who was making them.

   22               Your Honor, this case, as Mr. Trout said very

   23   clearly, was born of Michael Flynn's guilty plea.

   24   Until the government concluded that Mr. Flynn was no

   25   longer credible, it was classic Giglio if he had, as


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    1   this statement suggests, a secret relationship.

    2               Now, Your Honor, we understand the burden the

    3   Court has with regard to classified information under

    4   the Classified Information Protection Act.                 It's a

    5   difficult process just from the distance with which we

    6   see it.    But, Your Honor, the defense lawyers have all

    7   been cleared.      I've been cleared from the beginning and

    8   later Mr. Trout and Ms. Mitchell.            We have not seen

    9   this evidence.      We believe we would be cleared to see

   10   this evidence.      We have not been given the opportunity

   11   to argue to the Court the relevance of that evidence.

   12   We believe, just based on this little bit of

   13   information, it quite clearly is Brady.

   14               If Mr. Rafiekian is convicted without his

   15   counsel having access to this exculpatory evidence, we

   16   believe it will go right to the heart of his due

   17   process and confrontation rights.            So, Your Honor, we

   18   would object to the government having this evidence of

   19   Mr. Flynn's separate relationship with Mr. Alptekin

   20   evidently involving Turkey, evidently secretly acting

   21   on behalf of Turkey.         We would urgently move the Court

   22   to reconsider given the pendency of the trial.

   23               Thank you, Your Honor.

   24               THE COURT:       All right.     The Court will take

   25   that under advisement.         At this point, we're going to


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    1   proceed as the Court has already determined based on

    2   that unclassified summary.            Obviously, as the case

    3   develops, the Court understands the defense's concern

    4   and will continue to consider whether additional

    5   disclosure of information bear on this.

    6                MR. MACDOUGALL:         Thank you, Your Honor.

    7                THE COURT:       All right.    We have scheduled to

    8   appear 102 jurors on Monday.            Because of the size of

    9   that voir dire panel, we're going to conduct jury

   10   instructions in Courtroom 900, Judge Ellis' courtroom,

   11   just for jury instruction.            We'll have overflow

   12   monitored in Courtroom 1000 for jury selection.                 Then

   13   once we select a jury, we'll proceed back here into

   14   this courtroom, and we'll have an overflow monitor to

   15   the extent I deem it's necessary to have appropriate

   16   public viewing.

   17                We'll meet on Monday.         We should meet here in

   18   this courtroom on Monday at 9:00 before we proceed to

   19   jury selection.

   20                MR. GILLIS:       I'm looking forward to it, Your

   21   Honor.     Thank you.

   22                MR. MACDOUGALL:         There's one other matter I

   23   wanted to make the Court aware of.

   24                THE COURT:       Yes.

   25                MR. MACDOUGALL:         With the Monday start, it


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    1   might not be relevant.         We have two witnesses who we

    2   loose access to after next Thursday, after Friday.                    I

    3   understand the Court won't be having trial on Friday if

    4   we go that far.

    5               THE COURT:       Right.

    6               MR. MACDOUGALL:        We are speculating that with

    7   Mr. Flynn no longer on the government's list, it may be

    8   a shorter government presentation.             We would expect to

    9   be asking the Court and asking the government's

   10   concession to allow a couple of witnesses to be heard

   11   out of turn if it turns out that way.

   12               THE COURT:       All right.     Why don't you-all

   13   discuss that, and if there's something the Court needs

   14   to deal with, it will.

   15               MR. MACDOUGALL:        All right, Your Honor.

   16               THE COURT:       Mr. Gillis, how long do you

   17   anticipate the government's case in chief will take at

   18   this point?

   19               MR. GILLIS:       I would expect at this point,

   20   Your Honor, it would take about three to four days.

   21               THE COURT:       All right.     Anything else?

   22               MR. GILLIS:       Not from us, Your Honor.

   23               MR. MACDOUGALL:        Not from the defense, Your

   24   Honor.

   25               THE COURT:       All right.     We'll see everybody


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    1   on Monday.

    2                The Court will stand in recess.

    3                ----------------------------------
                              Time: 12:15 p.m.
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              I certify that the foregoing is a true and
   22
         accurate transcription of my stenographic notes.
   23

   24
                                                     /s/
   25                                   Rhonda F. Montgomery, CCR, RPR


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